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                             **NOT FOR PRINTED PUBLICATION**

                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

CADELIA ANN BENNETT                             §
                                                §
                                                § CASE NUMBER 9:20-CV-00082-TH
v.                                              §
                                                §
                                                §
COMMISSIONER OF SOCIAL                          §
SECURITY                                        §


               ORDER ACCEPTING REPORT AND RECOMMENDATION


       The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for consideration pursuant to applicable law and orders of this court. The court received

and considered the Report of the United States Magistrate Judge pursuant to such order, along

with the record and pleadings. No objections to the Report of the United States Magistrate Judge

were filed by the parties.

       The court finds that the findings of fact and conclusions of law of the United States

Magistrate Judge are correct and the Report of the United States Magistrate Judge is

ADOPTED.        A Final Judgment will be entered separately, remanding this action to the

Commissioner for further administrative proceedings.

        SIGNED this the 15 day of November, 2021.




                                     ____________________________
                                     Thad Heartfield
                                     United States District Judge
